Case 2:21-cv-00615-BRM-LDW Document 25 Filed 08/24/21 Page 1 of 1 PageID: 1041




                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY



  COUNT BASIE THEATRE INC.,

                          Plaintiff,
                                                         Case No. 2:21-cv-00615 (BRM) (LDW)
                          v.
                                                                          ORDER
  ZURICH AMERICAN INSURANCE
  COMPANY,

                         Defendant.


           THIS MATTER is opened to this Court by Plaintiff Count Basie Theater, Inc.’s (“Count

 Basie”) Motion to Remand. (ECF No. 6.) Having reviewed the submissions filed in connection

 with the motion and having declined to hold oral argument pursuant to Federal Rule of Civil

 Procedure 78(b), for the reasons set forth in the accompanying Opinion and for good cause shown,

           IT IS on this 24th day of August 2021,

           ORDERED that Count Basie’s Motion to Remand (ECF No. 6) is DENIED and it is

 further

           ORDERED that within fourteen (14) days of this Order, the parties shall meet and confer

 to establish a briefing schedule for any motion to dismiss that Defendant Zurich American

 Insurance Company intends to file or refile, and shall file a notice of the briefing schedule with the

 Court.



                                                       /s/ Brian R. Martinotti__________
                                                       HON. BRIAN R. MARTINOTTI
                                                       UNITED STATES DISTRICT JUDGE
